           Case 2:21-cv-00246-JAD-VCF Document 1 Filed 02/14/21 Page 1 of 2



1

2
      MICHAEL P. LOWRY, ESQ.
3     Nevada Bar No. 10666
      E-mail: Michael.Lowry@wilsonelser.com
4     JONATHAN C. PATTILLO, ESQ.
      Nevada Bar No. 13929
5     E-mail: Jonathan.Pattillo@wilsonelser.com
      6689 Las Vegas Boulevard South, Suite 200
6     Las Vegas, NV 89119
      Tel: 702.727.1400/Fax: 702.727.1401
7     Attorneys for Steven T. West; Blake Reidhead, Inc.
8
                                     UNITED STATES DISTRICT COURT
9
                                             DISTRICT OF NEVADA
10

11    Gary Bernstein                                            Case No.: 2:21-cv-246
12                             Plaintiff,
                                                                Defendants’ Removal Petition
13        vs.
14    Blake Reidhead, Inc. d/b/a BDR Transport; Steven
      Thomas West; Does I through XX, inclusive; and
15    Roe Business Entities I through XX, inclusive,
16                             Defendants.
17

18              Blake Reidhead, Inc. & Steven West petition to remove this case to the United States

19    District Court for the District of Nevada from the Eighth Judicial District Court for the State of

20    Nevada. This petition for removal is signed per Rule 11.

21              Removal is appropriate per 28 U.S.C. § 1441 because diversity jurisdiction is present per

22    28 U.S.C. 1332. Plaintiff alleges he is Nevada citizen and that Steven West is a citizen of

23    Arizona.1 Blake Reidhead, Inc. is incorporated in Arizona and has its principal place of business

24    in Arizona.

25              The amount in controversy is also satisfied. On February 10, 2021, Plaintiff filed a motion

26    in state court that asserted past medical damages of $716,237.08 to date.2 Defendants removed

27    this case within 30 days of learning that the amount in controversy exceeds $75,000.

28    1
          ECF No. 1-2 at ¶¶ 1, 3.
      2
          ECF No. 1-5.

     250599699v.1
         Case 2:21-cv-00246-JAD-VCF Document 1 Filed 02/14/21 Page 2 of 2




              DATED this 14th day of February, 2021.
1

2

3

4
                                            BY: /s/ Michael Lowry
5                                               MICHAEL P. LOWRY
                                                Nevada Bar No. 10666
6                                               JONATHAN C. PATTILLO, ESQ.
                                                Nevada Bar No. 13929
7                                               6689 Las Vegas Boulevard South, Suite 200
                                                Las Vegas, NV 89119
8                                               Attorneys for Steven T. West; Blake Reidhead, Inc.
9                                           Certificate of Service
10           Pursuant to NRCP 5, I certify that I am an employee of Wilson Elser Moskowitz Edelman
11    & Dicker LLP, and that on February 14, 2021, I served Defendants’ Removal Petition as
12    follows:
13                  by placing same to be deposited for mailing in the United States Mail, in a sealed
                    envelope upon which first class postage was prepaid in Las Vegas, Nevada;
14
                    via electronic means by operation of the Court’s electronic filing system, upon each
15                  party in this case who is registered as an electronic case filing user with the Clerk;
16
        Ladah Law Firm
17      517 S. 3rd St.
        Las Vegas, NV 89101
18      Attorneys for Gary Bernstein
19
                                         BY:    /s/ Michael Lowry
20                                              An Employee of
21

22

23

24

25

26

27

28
                                                      -2-
     250599699v.1
